THE ATTORNEY GENERAL HAS ASKED ME TO RESPOND TO YOUR LETTER REQUESTING AN OPINION ADDRESSING, IN EFFECT, THE FOLLOWING QUESTIONS:
  IS THE DRILLING AND COMPLETION OF NON-DOMESTIC FRESH GROUNDWATER WELLS, WITH AN INTENT TO WITH RAW AND USE WATER FROM THE WELLS WITHOUT FIRST HAVING APPLIED FOR AND OBTAINED A PERMIT AUTHORIZING THE DRILLING AND COMPLETION OF SUCH WELLS, A VIOLATION OF 82 O.S. 1020.7 AND 82 O.S. 1020.15 (1991)?
SINCE YOUR QUESTION INVOLVES SOLELY A MATTER OF STATUTORY INTERPRETATION THE ISSUANCE OF AN OFFICIAL OPINION OF THE ATTORNEY GENERAL IS NOT NECESSARY. THE DISCUSSION WHICH FOLLOWS IS THE, THE ANALYSIS AND CONCLUSIONS OF THE UNDERSIGNED ASSISTANT ATTORNEY GENERAL.
YOUR REQUEST ASKS FOR AN ANALYSIS OF THE TWO CITED STATUTORY PRIVISIONS. 82 O.S. 1020.7 OF TITLE 82 PROVIDES AS FOLLOWS:
"APPLICATION FOR PERMIT TO TAKE AND USE GROUND WATER.
ANY PERSON INTENDING TO USE GROUND WATER SHALL, AFTER HIS TESTING IS COMPLETED, MAKE APPLICATION TO THE BOARD FOR AN APPROPRIATE PERMIT AS PROVIDED IN 82 O.S. 1020.11 OF THIS TITLE BEFORE COMMENCING ANY DRILLING FOR SUCH PURPOSES AND BEFORE TAKING WATER FROM ANY COMPLETED WELL HERETOFORE DRILLED. SUCH APPLICATION TO TAKE AND USE GROUND WATER SHALL BE ON A FORM PROVIDED BY THE BOARD AND PURSUANT TO THE RULES AND REGULATIONS ESTABLISHED BY THE BOARD. THE APPLICATION HERETOFORE FILED WITH THE BOARD SHALL BE USED IN GRANTING PERMITS FOR EXISTING WELLS AND THE BOARD SHALL PUBLISH THE NOTICE OF THE HEARING THEREON.
IN ADDITION, YOU HAVE RAISED 82 O.S. 1020.15 OF TITLE 82 WHICH PROVIDES, IN PERTINENT PART, AS FOLLOWS:
"THE BOARD SHALL NOT PERMIT ANY FRESH GROUND WATER USER TO COMMIT WASTE BY:
    1. DRILLING A WELL, TAKING, OR USING FRESH GROUND WATER WITHOUT A PERMIT, EXCEPT FOR DOMESTIC USE;"
THE REFERENCE IN BOTH OF THESE SECTIONS TO "THE BOARD" MEANS THE OKLAHOMA WATER RESOURCES BOARD. 82 O.S. 1020.1(E).
IT IS CLEAR FROM A READING OF THE STATUTE SECTIONS YOU HAVE RAISED THAT, FOR NON-DOMESTIC USE, NO PERSON MAY COMMENCE DRILLING FOR THE PURPOSE OF WITHDRAWING AND USING WATER, OR MAY TAKE WATER FROM A COMPLETED WELL, WITHOUT FIRST OBTAINING A PERMIT TO DO SO FROM THE OKLAHOMA WATER RESOURCES BOARD. 82 O.S. 1020.7. SECTION 1020.7 SPECIFIES THAT ANY PERSON INTENDING TO EXTRACT WATER FOR NON-DOMESTIC USE BEYOND TESTING MUST FIRST OBTAIN THE APPROPRIATE PERMIT FROM THAT AGENCY. 82 O.S. 1020.7.
IT IS THEREFORE, THE OPINION OF THE UNDERSIGNED THAT PURSUANT TO 82 O.S. 1020.7, ONCE TESTING HAS BEEN COMPLETED, A PERMIT MUST BE OBTAINED IN ORDER TO DRILL WELLS FOR THE USE OF GROUNDWATER OR BEFORE EXTRACTING GROUNDWATER FROM COMPLETED WELLS FOR NON-DOMESTIC PURPOSES.
(BRITA HAUGLAND CANTRELL)